Case 2:20-cv-13361-BAF-CI ECF No. 131, PageID.1035 Filed 10/27/21 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


DORIAN TREVOR SYKES,                             Case No.: 20-13361
    Plaintiff,
v.                                               Bernard A. Friedman
                                                 United States District Judge
GENESEE COUNTY, CORIZON
HEALTH CORPORATION, and                          Curtis Ivy, Jr.
TAQUANA SCALES,                                  United States Magistrate Judge
     Defendants.
____________________________/

 ORDER GRANTING PLAINTIFF’S MOTIONS FOR CLARIFICATION
(ECF No. 123, 124), STRIKING MOTIONS TO ENTER DISCOVERY (ECF
Nos. 125, 126), DENYING AS MOOT MOTION TO EXPEDITE SUBPOENA
                         FORMS (ECF No. 130)

        Now before the Court are five new motions Plaintiff filed during October

2021.

        A.    Motions for Clarification (ECF Nos. 123, 124)

        On October 6, 2021, Plaintiff Dorian Sykes mailed to the Court a motion for

clarification regarding the jury demand in this case. (ECF No. 123). The motion is

GRANTED. Plaintiff correctly pointed out the scheduling order entered

September 30, 2021, indicates a jury trial was not demanded. (ECF No. 114).

This is an error. The Court will amend the scheduling order to reflect the fact a

jury trial has been demanded in this matter.
Case 2:20-cv-13361-BAF-CI ECF No. 131, PageID.1036 Filed 10/27/21 Page 2 of 4




      Plaintiff mailed another motion for clarification regarding the scheduling

order on October 14, 2021. (ECF No. 124). This motion is GRANTED. Plaintiff

is correct this case is exempt from the requirement of exchanging initial

disclosures pursuant to Fed. R. Civ. P. 26(a)(1)(B). The scheduling order provides,

“Initial disclosures, if any, pursuant to Federal Rule of Civil Procedure 26(a) must

be made within 28 days of the entry of this order.” (ECF No. 114, PageID.835)

(emphasis added). The inclusion of the phrase “if any” is meant to allow the

parties in prisoner civil rights cases to provide initial disclosures if they choose to

do so. Plaintiff is under no obligation to provide initial disclosures to the

defendants.

      B.      Second and Third Motions to File Discovery (ECF Nos. 125, 126)

      Plaintiff filed two new motions through which he intends to place discovery

materials on the docket without connection to a pending motion. He attempted this

previously in his first motion to enter discovery on the docket (ECF No. 121). On

October 19, 2021, the Court struck that motion in an Order explaining Local Rule

26.2 prohibits a party from filing discovery materials except when it provides

factual support for a motion or response. (ECF No. 122). The Court warned any

future attempts to file discovery in this manner would be stricken. Plaintiff likely

did not receive the Court’s October 19, 2021 Order when he mailed the Second and

Third Motions to enter discovery. Thus, the Court does not fault Plaintiff for his

                                               2
Case 2:20-cv-13361-BAF-CI ECF No. 131, PageID.1037 Filed 10/27/21 Page 3 of 4




second attempt to file discovery. Nevertheless, the motions are STRICKEN as

impermissible attempts to file discovery unconnected to a motion or response.

      C.     Motion to Expedite Subpoenas (ECF No. 130)

      On September 30, 2021, the Court granted Plaintiff’s motion to direct the

Clerk’s Office to send Plaintiff fifteen signed but otherwise blank subpoena forms

pursuant to Fed. R. Civ. P. 45(a)(3). Plaintiff has now filed a motion for the

Clerk’s Office to expedite mailing the forms to Plaintiff. (ECF No. 130). This

motion is DENIED AS MOOT as on October 25, 2021, the Clerk’s Office

indicated it mailed Plaintiff the subpoena forms in accordance with the September

30, 2021 Order.

      IT IS SO ORDERED.

      The parties to this action may object to and seek review of this Order, but

are required to file any objections within 14 days of service as provided for in

Federal Rule of Civil Procedure 72(a) and Local Rule 72.1(d). A party may not

assign as error any defect in this Order to which timely objection was not made.

Fed. R. Civ. P. 72(a). Any objections are required to specify the part of the Order

to which the party objects and state the basis of the objection. When an objection

is filed to a magistrate judge’s ruling on a non-dispositive motion, the ruling

remains in full force and effect unless and until it is stayed by the magistrate judge

or a district judge. E.D. Mich. Local Rule 72.2.

                                              3
Case 2:20-cv-13361-BAF-CI ECF No. 131, PageID.1038 Filed 10/27/21 Page 4 of 4




Date: October 27, 2021                   s/Curtis Ivy, Jr.
                                         Curtis Ivy, Jr.
                                         United States Magistrate Judge




                         CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on October 27, 2021, by electronic means and/or
ordinary mail.

                                         s/Kristen MacKay
                                         Case Manager
                                         (810) 341-7850




                                            4
